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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

   State of Texas,
   State of Montana
        Plaintiffs,

   v.

   Xavier Becerra, in his official capacity
   as Secretary of Health and Human Services;
                                                              Case No. 6:24-cv-211
   Melanie Fontes Rainer, in her
   official capacity as Director of the Office for
   Civil Rights; Centers for Medicare
   & Medicaid Services; United
   States Department of Health
   and Human Services,

          Defendants.


          ORDER GRANTING JOINT MOTION FOR SCHEDULING ORDER
        ON PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER,
           PRELIMINARY INJUNCTION, AND STAY OF AGENCY ACTION


        The Court finds that the Parties’ Joint Motion for Scheduling Order on Plaintiffs’ Motion
for Temporary Restraining Order, Preliminary Injunction, and Stay of Agency Action is
meritorious and should be GRANTED. It is therefore ORDERED that Defendants’ Response to

Plaintiffs’ Motion for Temporary Restraining Order, Preliminary Injunction, and Stay of Agency

Action is due on or before June 27, 2024, and Plaintiffs’ Reply is due on or before July 1, 2024.

        So ORDERED and SIGNED this 17th day of June, 2024.



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                                                     JEREMY D. KERNODLE
                                                     UNITED STATES DISTRICT JUDGE
